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United States Bankruptcy Court for the:

Fill in this information to identify th

    

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:
|
i

 

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District of _ Connecticut
Gatey
Case number (if known): Chapter __11 Check if this is an
\ amended filing
Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy 04/20

 

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor’s name and the case
number (if known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.

1. Debtor’s name

The Norwich Roman Catholic Diocesan Corporation

 

2. All other names debtor used

in the last 8 years

Include any assumed names,

trade names, and doing business

as names

The Roman Catholic Diocese of Norwich

 

 

 

 

 

3. Debtor’s federal Employer
Identification Number (EIN)

4. Debtor’s address

5. Debtor’s website (URL)

Official Form 201

Principal place of business

201 Broadway

 

 

Mailing address, if different from principal place
of business

 

 

 

 

 

 

Number Street Number Street
P.O. Box

Norwich CT 06360

City State ZIP Code City State ZIP Code
Location of principal assets, if different from
principal place of business

New London
County

 

Number Street

 

 

City State ZIP Code

 

www.norwichdiocese.org

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Debtor The Norwich Roman Catholic Diocesan Corporation Case number (if known),

 

Name

 

 

6. Type of debtor

x Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
QU Partnership (excluding LLP)
Q] Other. Specify:

 

 

7. Describe debtor’s business

A. Check one:

(2) Health Care Business (as defined in 11 U.S.C. § 104(27A))
C) Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
() Railroad (as defined in 11 U.S.C. § 101(44))

C) Stockbroker (as defined in 11 U.S.C. § 101(53A))

CJ] Commodity Broker (as defined in 11 U.S.C. § 101(6))

QC) Clearing Bank (as defined in 11 U.S.C. § 781(3))

%l None of the above

B. Check ail that apply:

5q Tax-exempt entity (as described in 26 U.S.C. § 501)

(0 Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C.
§ 80a-3)

C) Investment advisor (as defined in 15 U.S.C. § 80b-2(a)(11))

Cc. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
http://Awww.uscourts.gov/four-digit-national-association-naics-codes .

8 1 3 1

 

8. Under which chapter of the
Bankruptcy Code is the
debtor filing?

A debtor who is a “small business
debtor” must check the first sub-
box. A debtor as defined in

§ 1182(1) who elects to proceed
under subchapter V of chapter 11
(whether or not the debtor is a
“small business debtor’) must
check the second sub-box.

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Check one:

O) Chapter 7
L) Chapter 9
3 Chapter 11. Check all that apply:

(] The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its
aggregate noncontingent liquidated debts (excluding debts owed to insiders or
affiliates) are less than $2,725,625. If this sub-box is selected, attach the most
recent balance sheet, statement of operations, cash-flow statement, and federal
income tax return or if any of these documents do not exist, follow the procedure in
11 U.S.C. § 1116(1)(B).

C) The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate
noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
less than $7,500,000, and it chooses to proceed under Subchapter V of
Chapter 11. If this sub-box is selected, attach the most recent balance sheet,
statement of operations, cash-flow statement, and federal income tax return, or if
any of these documents do not exist, follow the procedure in 11 U.S.C.

§ 1116(1)(B).

Q) A plan is being filed with this petition.

L) Acceptances of the plan were solicited prepetition from one or more classes of
creditors, in accordance with 11 U.S.C. § 1126(b).

U) The debtor is required to file periodic reports (for example, 10K and 10Q) with the
Securities and Exchange Commission according to § 13 or 15(d) of the Securities
Exchange Act of 1934. File the Attachment to Voluntary Petition for Non-Individuals Filing
for Bankruptcy under Chapter 11 (Official Form 201A) with this form.

U The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule
12b-2.

C) Chapter 12

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Debtor The Norwich Roman Catholic Diocesan Corporation Case number (if known)

 

Name

 

 

 

9. Were prior bankruptcy cases 1] No
filed by or against the debtor

 

 

 

 

 

ithin th ears? Cl Yes. District When Case number
within the last 8 y Sar DD
lf more than 2 cases, attach a a.
separate list. District Cen «Case number
MM/ DD/YYYY
10. Are any bankruptcy cases 2 No
pending or being filed by a
business partner or an CL} Yes. Debtor Relationship
affiliate of the debtor? District When
List all cases. If more than 1, MM / DD /YYYY
attach a separate list. Case number, if known

 

 

 

 

11. Why is the case filed in this Check all that apply:
district?

xi Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days

immediately preceding the date of this petition or for a longer part of such 180 days than in any other

district.

DA bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or have SY) No
possession of any real
property or personal property

LJ Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.

that needs immediate Why does the property need immediate attention? (Check al that apply.)

attention?

(J It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.

What is the hazard?

 

C2 It needs to be physically secured or protected from the weather.

() It includes perishable goods or assets that could quickly deteriorate or lose value without
attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related

assets or other options).

CJ Other

 

Where is the property?
Number Street

 

 

City

Is the property insured?

UO No

L] Yes. insurance agency

State ZIP Code

 

Contact name

 

Phone

 

 

pas Statistical and administrative information

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Debtor The Norwich Roman Catholic Diocesan Corporation

 

Name

Case number (if known).

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13. Debtor’s estimation of Check one:

available funds

xi Funds will be available for distribution to unsecured creditors.

C] After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.

 

 

; C) 1-49 C) 1,000-5,000 L) 25,001-50,000
14, rotate number of 4 50-99 OQ 5,001-10,000 2) 50,001-100,000
creditors O) 100-199 Q) 10,001-25,000 OC) More than 100,000
LJ 200-999
 $0-$50,000 O $1,000,001-$10 million Q $500,000,001-$1 billion

15. Estimated assets © $50,001-$100,000

L) $100,001-$500,000
Q) $500,001-$1 million

J $10,000,001-$50 million
LJ $50,000,001-$100 million
QJ $100,000,001-$500 million

O $1,000,000,001-$10 billion
CJ $10,000,000,001-$50 billion
UJ More than $50 billion

 

CI) $0-$50,000

UI] $50,001-$100,000
C) $100,001-$500,000
Q) $500,001-$1 million

16. Estimated liabilities

QQ $1,000,001-$10 million

QI $10,000,001-$50 million
1 $50,000,001-$100 million
LC) $100,000,001-$500 million

QJ) $500,000,001-$1 billion

O $1,000,000,001-$10 billion
LJ $10,000,000,001-$50 billion
C) More than $50 billion

 

eee Request for Relief, Declaration, and Signatures

 

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to

$500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature of
authorized representative of

debtor petition.

| have been authorized to file this petition on behalf of the debtor.

The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this

| have examined the information in this petition and have a reasonable belief that the information is true and

correct.

| declare under penalty of perjury that the foregoing is true and correct.

 

Title _ Chancellor

 

 

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Printed name

Reverend Peter J. Langevin

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The Norwich Roman Catholic Diocesan Corporation
Debtor Case number (if known).
Name

 

18. Signature of attorney Date SH 15 | wea \

MM /DD /YYYY

 

  

Patrick M. Birney

 

 

 

 

 

 

 

Printed name
Robinson & Cole LLP
Firm name
280 Trumbull Street
Number Street
Hartford cT 06103
City State ZIP Code
(860) 275-8275 pbirney@rc.com
Contact phone Email address
19875 CT
Bar number State

 

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RESOLUTIONS OF MOST REVEREND MICHAEL R. COTE, D.D.
BISHOP OF THE ROMAN CATHOLIC DIOCESE OF NORWICH

July 14, 2021

The Most Reverend Michael R. Cote, D.D., Bishop and President and Chairman of the Board

of Trustees of the Norwich Roman Catholic Diocesan Corporation, a corporation incorporated
under Connecticut law in November 1953 (the “Diocese”), hereby adopts the following resolutions
by written action:

WHEREAS, along with the other Trustees of the Diocese, the Diocesan Finance
Council and the College of Consultors, I have engaged in numerous and extensive
discussions with the management, financial, legal, and spiritual advisors of the
Diocese regarding the assets and liabilities of the Diocese, the impact of such
liabilities on the continuation of the mission of the Diocese, the strategic
alternatives available to the Diocese, and the advisability of entering into
restructuring arrangements;

WHEREAS, the Diocese has considered the importance of retaining outside
advisors during the restructuring process; and

WHEREAS, along with the other Trustees of the Diocese, the Diocesan Finance
Council and the College of Consultors, I have determined that taking the actions
set forth below are advisable and in the best interests of the Diocese and, therefore
desire to approve the following resolutions:

RESOLVED, that in order to respond to abuse claims in an equitable and
comprehensive manner, and to reorganize the financial affairs of the Diocese in
order to permit it to continue to fulfill its ministries to the Catholic faithful of the
Diocese, the Diocese shall file or cause to be filed a voluntary petition for relief
under the provisions of chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) commencing a chapter 11 case of the Diocese (the “Chapter
11 Case”);

FURTHER RESOLVED, that each the officers and mangers of the Diocese (the
“Authorized Persons”), including Reverend Peter Langevin, Chancellor, and
Monsignor Leszek T. Janik, J.C.L. Vicar General of the Diocese, or such other
authorized signer for the Diocese as he may designate, be, and they hereby are,
authorized, empowered, and directed to execute and file, or cause to be filed, with
the bankruptcy court, for the Diocese all petitions, schedules, lists, motions,
applications, pleadings and any other necessary papers or documents, including any
amendments thereto, and to take any and all action and perform any and all further
deeds that they deem necessary or proper to obtain chapter 11 bankruptcy relief or
in connection with the Chapter 11 Case, with a view to the successful prosecution
of such case;

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FURTHER RESOLVED, that the Authorized Persons be, and each of them
hereby is, authorized, empowered, and directed to employ the law firm of Ice Miller
LLP as general bankruptcy counsel to represent and advise the Diocese in carrying
out its duties under the Bankruptcy Code, and to take any and all actions to advance
its rights and obligations, including filing any pleadings in connection with the
Chapter 11 Case; and, in connection therewith, the Authorized Persons are hereby
authorized, empowered, and directed to execute appropriate retention agreements,
pay appropriate retainers prior to and immediately upon filing of the Chapter 11
Case, and cause to be executed and filed an appropriate application with the
bankruptcy court for authority to retain the services of Ice Miller LLP;

FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed to employ GlassRatner Advisory & Capital
Group, LLC d/b/a B. Riley Advisory Services (“B. Riley”) as financial advisor to
represent and assist the Diocese in carrying out its duties under the Bankruptcy Code,
and to take any and all actions to advance its rights and obligations in connection
with the Chapter 11 Case; and, in connection therewith, the Authorized Persons are
hereby authorized, empowered, and directed to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon filing of the
Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of B. Riley;

FURTHER RESOLVED, that the Authorized Persons be, and each of them
hereby is, authorized, empowered, and directed to employ Epiq Corporate
Restructuring, LLC as administrative advisor and claims, noticing and balloting
agent to assist the Diocese in carrying out its duties under the Bankruptcy Code,
and to take any and all actions to advance its rights and obligations in connection
with the Chapter 11 Case; and, in connection therewith, the Authorized Persons are
hereby authorized, empowered, and directed to execute appropriate retention
agreements, pay appropriate retainers prior to and immediately upon filing of the
Chapter 11 Case, and cause to be executed and filed an appropriate application with
the bankruptcy court for authority to retain the services of Epiq Corporate
Restructuring, LLC;

FURTHER RESOLVED, that the Authorized Persons be, and each of them
hereby is, authorized, empowered, and directed to employ Robinson & Cole LLP
as co-counsel; and, in connection therewith, the Authorized Persons are hereby
authorized, empowered, and directed to execute appropriate retention agreements,
pay appropriate retainers prior to and immediately upon filing of the Chapter 11
Case, and cause to be executed and filed an appropriate application with the
bankruptcy court for authority to retain the services of Robinson & Cole LLP;

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FURTHER RESOLVED, that the Authorized Persons be, and each of them
hereby is, authorized, empowered, and directed to employ Brown Jacobson P.C. as
special counsel; and, in connection therewith, the Authorized Persons are hereby
authorized, empowered, and directed to execute appropriate retention agreements,
pay appropriate retainers prior to and immediately upon filing of the Chapter 11
Case, and cause to be executed and filed an appropriate application with the
bankruptcy court for authority to retain the services of Brown Jacobson P.C.;

FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby
is, authorized and directed to employ any other professionals to assist the Diocese
in carrying out its duties under the Bankruptcy Code; and in connection therewith,
the Authorized Persons are hereby authorized, empowered, and directed to execute
appropriate retention agreements, pay appropriate retainers prior to or immediately
upon the filing of the chapter 11 case of the Diocese, and to cause to be filed an

appropriate application for authority to retain the services of any other professionals
as necessary;

FURTHER RESOLVED, that the Authorized Persons be, and each of them
hereby is, authorized, empowered, and directed, in the name and on behalf of the
Diocese, to prosecute the Chapter 11 Case in a manner that in their business
judgment is likely to maximize the recovery for stakeholders in the Diocese and
minimize the obligations incurred by the Diocese;

FURTHER RESOLVED, that the Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed, in the name and on behalf of the Diocese,
to cause the Diocese to enter into, execute, deliver, certify, file, and/or record and
perform such agreements, instruments, motions, affidavits, certificates or other
documents, and to take such other action, as in the judgment of such person shall be
or become necessary, proper, and desirable to prosecute to a successful completion
the Chapter 11 Case, including, but not limited to, implementing the foregoing
resolutions and the transactions contemplated by these resolutions;

FURTHER RESOLVED, that Authorized Persons be, and each of them hereby
is, authorized, empowered, and directed, in the name and on behalf of the Diocese,
to amend, supplement, or otherwise modify from time to time the terms of any
documents, certificates, instruments, agreements, or other writings referred to in
the foregoing resolutions; and

FURTHER RESOLVED, that all acts, actions, and transactions relating to the
matters contemplated by the foregoing resolutions done in the name and on behalf
of the Diocese, which acts would have been approved by the foregoing resolutions
except that such acts were taken before these resolutions were certified, are hereby
in all respects approved and ratified.

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IN WITNESS WHEREOF, | have signed this written action and affixed the seal of the Diocese

this 14th day of July, 2021.
aa
+ Wirenert ACY

Most Reverend Michael R. Cote, D.D.
Bishop and Chairman of

the Norwich Roman Catholic
Diocesan Corporation

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